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                        UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF IOWA
                              DES MOINES DIVISION




                                                     Case No. 23-01125-lmj11

IN RE:                                                      Chapter 11



VALLEY PORK, LLC,



    Debtor.


                        DISCLOSURE STATEMENT OF DEBTOR
                               VALLEY PORK, LLC




Dated: March 22, 2024                 RESPECTFULLY SUBMITTED,


                                      /s/ Robert C. Gainer___________
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I.      INTRODUCTION
This is the Disclosure Statement (the “Disclosure Statement”) in the chapter 11 case of Valley
Pork LLC. This Disclosure Statement contains information about the Debtor and describes the
Plan of Liquidation (the “Plan”) filed by Debtors. Your rights may be affected. You should read
the Plan and this Disclosure Statement carefully and discuss them with your attorney. If you
do not have an attorney, you may wish to consult one.
The proposed distributions under the Plan are discussed herein. General unsecured creditors are
classified in Class 3, and claims will not receive a distribution.
A. Purpose of This Document
This Disclosure Statement describes:
  i.    The Debtors and significant events during the bankruptcy case,
 ii.    How the Plan proposes to treat claims or equity interests of the type you hold (i.e., what
        you will receive on your claim or equity interest if the plan is confirmed),
 iii.   Who can vote on or object to the Plan,
 iv.    What factors the Bankruptcy Court (the “Court”) will consider when deciding whether to
        confirm the Plan,
  v.    Why Valley Pork LLC believes the Plan is feasible, and how the treatment of your claim
        or equity interest under the Plan compares to what you would receive on your claim or
        equity interest in liquidation, and
 vi.    The effect of confirmation of the Plan.
Be sure to read the Plan as well as the Disclosure Statement. This Disclosure Statement describes
the Plan, but it is the Plan itself that will, if confirmed, establish your rights. If you want
additional information about the Plan, you should contact:
Cutler Law Firm, P.C., 1307 50th Street, West Des Moines, Iowa 50266
515.233.6600 (voice); 515.223.6787 (fax)
B. Disclaimer
This proposed Disclosure Statement has not been approved by the Bankruptcy Court as
containing adequate information under Section 1125(b) of the Bankruptcy Code for use in
connection with the solicitation of acceptance or rejections of the Plan of Liquidation
described herein. Accordingly, the filing and dissemination of this Plan of Liquidation and
Disclosure Statement are not intended to be and should not in any way be construed as a
solicitation of votes on the plan. Nor should the information contained herein be relied on
for any purpose before a determination by the Bankruptcy Court that this proposed
Disclosure Statement contains adequate information.

II.     BACKGROUND
A. Description and History of the Debtor’s Business
    1. Company History
Valley Pork LLC was formed in 2001, by community banker Steven Krogmeier and Patterson
Brothers Farms, LC. The business functioned as a wean-to-finish operation, procuring weaned
pigs from sow shares from units managed by the Carthage Vet Clinic in Illinois. The operation


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finished the animals in Eastern Iowa in a mix of contract and owned finishing barns. The
operation enjoyed success as evidenced by net worth increasing from $1,390,000.00 in 2009 to
$13,200,000 in 2017. At its peak, Valley was marketing approximately 75,000 animals annually.
Unfortunately, Steven became ill with ALS, which he later succumbed to in 2019. Before
passing, Steven installed a board of directors to oversee Valley Pork. Before passing, Steve
selected Curtis, his son, to manage Valley Pork. At the member meeting in February 2018,
Curtsi Krogmeier was unanimously voted in as manager of Valley Pork. Pursuant to an offer to
all existing members, Steven Krogmeier sold shares to Doug Groth and Keith Baumler; after
which, Krogmeier was a minority owner in Valley Pork. After Steven’s passing, relations with
the members of Valley Pork broke down, and the non-Krogmeier ownership of Doug Groth,
Keith Baumler, and Patterson Brothers Farms, LC, demanded a buy-out, which resulted in the
Krogmeier family buying out the existing members interest. . To fund the buyout, Valley Pork
sold its shares in the various Carthage sow units. To continue feeding pigs, Valley Pork entered
into a fixed-price weaned pig agreement with Applewood Farms of Virgina Illinois, LLC
(AFOVI). Shortly after the exit of the minority shareholders, Curtis and Jane Krogmeier
(Steve’s widow/Curtis’ mother) acquired Curtis’s siblings share of Valley Pork. After the buy-
outs the resulting ownership structure was 70% Jane Krogmeier 30% Curtis Krogmeier, with
Curtis being the manager of Valley Pork. After the buy-out, a lawsuit was filed by the former
members against Valley Pork.
AFOVI was formed in 2013 by Dr. Alan Wildt and two other partners. At the time of formation,
the AFOVI operation was a former distressed farrow-to-finish operation in Cass County, Illinois.
Upon AFOVI’s purchase, the operation was converted into a 14,000 head sow farrow-to-wean
operation, producing +/- 300,000 weaned pigs annually. The weaned pigs were sold to various
operations such as TriOak Foods, Smithfield, Valley Pork, and other local pork producers. The
operation reported EBITDA of: 2,360,000 (2019), $2,870,000 (2020), and $3,430,000 (2021),
respectively, with a net worth of 12,850,000 and an Owner Equity of 88%.
In 2022, Valley Pork entered into a stock purchase agreement in an amount of +/- $21,000,000 as
well as three-years of “production bonuses” not to exceed $500,000.00 annually, for the purchase
of 100% of the ownership interest of AFOVI by Valley Pork. Besides real estate, breeder
livestock, and weaned pig inventory, other assets included in the agreement were accounts
receivable and approximately $2,000,000 cash. No liabilities aside from accounts payable were
assumed by Valley Pork in the purchase.
     2. Business Operations as of Petition Date
In 2021, Valley Pork sold approximately 117,000 market hogs and reporting making a
respectable +/- $2,000,000. It’s reporting indicated Owner’s Equity at 64% or +/- $7,000,000
with working capital of $5,200,000. Valley Pork reported a cost of production of +/- $152 per
head marketed. Valley Pork’s low cost of production with adequate working capital contributed
to its success.
    3. Events Leading to the Bankruptcy Case
In 2023, the swine industry suffered an unpresented downturn in margin due to plunging lean
hog price, both impacting the sales price of weaned pigs and the hogs sold to packers. The
downturn was caused by dynamic market conditions (plummeting lean hog prices exacerbated



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with high production costs) coupled with the impact of the United States Supreme Court’s ruling
that upheld California’s Proposition 12.
After Valley Pork purchased AFOVI, it sustained higher production costs compared to historical,
which stressed its recently thinned working capital and owner’s equity due to the AFOVI stock
purchase. Interest rate increases on the debt load caused additional stress on Valley Pork
wherein the company was unable to make planned term payments while its operating line of
credit was overextended. Thereafter, the owner, Jane Krogmeier, attempted to fund the company
with additional contributions, however, the company’s depletion of cash was at too high a rate.
International conflict had greatly impacted corn prices, and although Valley Pork was heavily
hedged in 2022, the price of corn did not see the seasonal decrease at harvest as expected and
feed cost jumped by $30/head; which was being paid for on an operating line of credit accruing
interest at 9% annually.
In May 2023, Valley Pork removed Curtis Krogmeier as the manager of the company. By action
of Valley Pork on June 30, 2023, Robert Klocke volunteered, and was elected as manager and
interim President, and filled these roles until his resignation effective July 31, 2023. Thereafter,
Jane Krogmeier taking on the role of Manager.
Ultimately, Debtor was presented with the options of turning over its assets to its primary under-
secured creditors, or work through a Chapter 11 case to attempt to carve out value for its creditor
body as a whole; Debtor chose the later. Given the relief bankruptcy has provided, and an
opportunity to work through outstanding issues with secured creditors, Debtor believes it is now
the best position to address remaining obligations with a return for certain creditors that did not
exist through a state insolvency or Chapter 7 proceeding.
B. Significant Events During the Bankruptcy Case
During the Case, the Debtor has managed its financial affairs and taken steps to place itself in a
position where it can seek to confirm this Chapter 11 Plan.
   1. Debtor filed its voluntary Petition on August 30, 2023, and an Order for Relief was
      entered on the same day.
   2. Debtor hired Cutler Law Firm, as general reorganization counsel;
   3. Debtor hired NutriQuest/Casey Westphalen, to serve as its chief reorganization counsel;
   4. Debtor hired Agri-Management Farm Services, LLC d/b/a Growthland (hereafter,
      Growthland) as broker and auctioneer to sell both real estate and ownership interest in an
      Iowa limited liability company.
   5. Debtor reached an accord with its primary secured creditor, Farm Credit Services of
      America, on a cash collateral order permitting operations and wind-down of the
      agricultural operation;
   6. Debtor participated in Initial Debtor Interview, and First Meeting of Creditors;
   7. Debtor effectuated two sales:
          a. Sale of its Real Estate (9 sites) via auction;
          b. Sale of its 100% ownership interest in the member units of Applewood Farms of
              Virginia, Illinois, LLC, through auction;
   8. Debtor hired Frost, CPA, to address tax reporting and filing requirements for tax year
      2023;



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   9. The Debtor has filed reports with the United States Trustee, and provided documentation
       establishing appropriate post-petition insurance, and debtor in possession account.
   10. The proposed Combined Disclosure Statement and Plan of Liquidation is the culmination
       of this effort.
C. Projected Recovery of Avoidable Transfers
Any claims, rights and causes of action that the Debtor or its bankruptcy estate may hold
against any person or entity, including, without limitation, claims and causes of action
arising under section 542, 543, 544, 547, 548, 550 or 553 of the Bankruptcy Code are reserved
and preserved for the Liquidating Debtor to pursue. This Plan adopts and preserves the
ownership of these claims and lawsuit, and assigns to the Liquidating Debtor all rights and
entitlement to prosecution and recovery. Specifically, but without limitation, the following
causes of action are, and will continue to be, pursued by the Liquidating Debtor upon
Confirmation Order:
        (i)       Given evaluations on the cost and recovery potential, there exists a present
                  avoidance action against Winthrop Veterinary Clinic, Winthrop, Iowa, Case No.
                  24-30007, pending in the Bankruptcy Court for the Southern District of Iowa.
                  This cause of action is specifically assigned to the Liquidating Debtor to pursue
                  and recover.
        (ii)      Derek Smith’s obligation via restitution order in Fayette County Iowa District
                  Court Case No. SRCR071712 (hereafter, Restitution Order);
        (iii) any recovery actions necessary to marshal, liquidate, and collect on the
                  redemption of the Viafield Stock listed on Schedule B of Debtor’s schedules, and
                  any other stock or entitlement the Debtor may possess;
        (iv)      any recovery actions necessary to marshal, liquidate, and collect on the
                  redemption of the retainer now held at the Laird Law Firm
This list is illustrative, but not limiting, to the actions the Liquidating Debtor will seek to recover
on.
D. Claims Objections
Except to the extent that a Claim is already allowed pursuant to a Final Order, the Debtor
reserves the right to object to Claims. Therefore, even if your Claim is allowed for voting
purposes, you may not be entitled to a distribution if an objection to your Claim later is upheld.
The procedures for resolving Disputed Claims are stated in Article VII of the Plan.
The final numbers for Allowed Claims will depend upon a number of factors, including the
Claims adjudication process. It is not believed that the allowance or disallowance of any claims
yet to be resolved will have a material impact on the size of the Creditor body or any amounts
available for distribution to Allowed General Unsecured Creditors.
E. Current and Historical Financial Conditions
The identity and fair market value of the Estate's assets as of the Petition Date and in a
hypothetical Chapter 7 liquidation are listed in Exhibit A, which reflects the remaining assets of
Debtor after the Court Ordered bankruptcy sales. These assets that conceivably remain for
“Recovery”:
   •   Recovery on the Derek Smith Restitution Order- approval from the bankruptcy court will
       be sought to resolve this matter, to produce $50,000.00 to the Estate/Liquidating Debtor;
   •   Recovery on the Adversary Proceeding against Winthrop Veterinary Clinic;


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   •    Recovery on the Viafield Stock (preferred) and any other ownership interest or
        cooperative share interest;
    • Recovery against Rain & Hail, LLC, on overpayment (+/- $38,246.00);
    • Recovery of the Laird Law Firm retainer (+/- $20,000.00);
    • Disposition of any remaining assets
(the above “Recovery”, collectively, hereafter, Remaining Assets)
All values were based upon the Debtor’s best estimates after reasonable investigation and
evaluation. Creditors should note that asset values listed as of the Petition Date were based upon
the Schedules filed by the Debtor at the inception of its Chapter 11 case. The Debtor believes
that the analysis in Exhibit A provides an estimate of the most that Creditors conceivably could
receive after liquidation in Chapter 7. Creditors should keep in mind that liquidation in Chapter 7
would involve fees, expenses and costs that will not have to be paid under this Plan including,
without limitation, (a) fees for a Chapter 7 Trustee as described in Code § 326, (b) fees for a
Chapter 7 Trustee’s attorney and other professionals, and (c) taxes on any capital gains. The
Debtor’s best estimate is that there will not be a dividend for unsecured creditors in a Chapter 7
case, given the security interests of: Farm Credit Services of America, and the presently
scheduled priority claim of the Internal Revenue Service.
The Debtor has filed initial financial statements & periodic monthly operating reports (hereafter,
MORs) during the pendency of its Chapter 11 case. The MORs are available via the Bankruptcy
Court’s ECF system. In reviewing those reports, creditors should note that they do not reflect
Chapter 7 expenses or other items as described above. As part of the liquidation process, the
Debtor seeks to retain current counsel to pursue the Chapter 5 action, recovery on the Restitution
Order, marshalling of the Viafield stock and Laird law firm retainer, and make disbursement on
the Distribution Date.

III. SUMMARY OF THE PLAN OF REORGANIZATION AND TREATMENT OF
CLAIMS AND EQUITY INTERESTS

A. What is the Purpose of the Plan of Reorganization?
As required by the Code, the Plan places Allowed Claims and equity interests in various Classes
and describes the treatment each Class will receive. The Plan also states whether each Class of
Claims or equity interests is Impaired. If the Plan is confirmed, your recovery will be limited to
the amount provided by the Plan.
B. Unclassified Claims
Certain types of Claims automatically are entitled to specific treatment under the Code. They are
not considered Impaired. Holders of these Claims do not vote on the Plan but may, however,
object if, in their view, their treatment under the Plan does not comply with that required by the
Code. Accordingly, the Debtor has not placed the following Claims in any Class:
        1. Administrative Expenses
Administrative Expense Claims are costs or expenses of administering the Debtor’s Chapter 11
case that are allowed under Code § 507(a)(2). The Debtor estimates that Administrative
Expenses in the Case will consist of (i) professional fees of $45,000 to $65,000.00 (net of any




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retainer), (ii) any unpaid post-petition expenses associated with the Debtor’s Case. It is
anticipated the Debtor will pay certain of the approved fees from the funds available in the DIP
account, from the recovery on the Remaining Assets.
        2. Priority Tax Claims
Unsecured Priority Tax Claims are Claims for unsecured income, employment, and other taxes
described by Code § 507(a)(8). Sufficient money does not exist to pay the Claim in full, or pay
the present value of its Claim, in regular installments paid over a period not exceeding five years
from the Petition Date. This shall be paid pro-rata, along with all other Allowed Unsecured
Priority Tax Claims, with available funds collected in advance of the Distribution Date. The
Allowed Unsecured Priority Tax Claims, and Disputed Priority Tax Claims, have been listed in
the Plan.
       3. United States Trustee’s Fees
All such fees due and owing to the United States Trustee, as ordinarily required under 28 U.S.C.
§ 1930(a)(6)(A), will be made on the Effective Date.
C. Classes of Claims and Equity Interests
The following are the classes set forth in the Plan, and the proposed treatment that they will
receive under the Plan:
         1. Classes of Priority Unsecured Claims
Certain Claims that are referred to in Code § 507(a) are required to be placed in Classes. In this
case, Priority Tax Claims and obligations to state and Federal Taxing agencies. These Claims
are required to be paid on a particular schedule under the Code. Pursuant to §1129(a)(9)(C)(iii)
of the Bankruptcy Code, unless otherwise agreed by the Holder of a Priority Tax Claim and the
Debtors or the Plan Administrator, as applicable, each Holder of an Allowed Priority Tax Claim
will receive, at the Distribution Date, its pro-rata entitlement for its Allowed Priority Tax Claim
that is due and payable on or before the Effective Date.
       2. Classes of Secured Claims
Allowed Secured Claims are Claims secured by Estate Property to the extent Allowed as Secured
Claims under Code § 506. If the value of the collateral securing Creditor's Claim is less than the
amount of the Creditor's Allowed Claim, the deficiency may be classified as Unsecured Claim.
       3. Classes of General Unsecured Claims
Unsecured Claims are not secured by Estate Property and are not entitled to priority under Code
§ 507(a).
        4. Class of Equity Interest Holders
Equity interest holders are parties who hold an ownership interest, i.e., equity interest, in the
Debtor. Jane Krogmeier owns 70% of the member unit interest in the Debtor; Curtis Krogmeier
holds the remaining 30% member unit interest in the Debtor.
D. Means of Implementing the Plan
        1. Source of Payments
Payments and distributions under the Plan will be funded by the Debtor’s recovery on the
identified Remaining Assets. Any and all Causes of Action that are not expressly released or
waived under this Combined Disclosure Statement and Plan of Liquidation are reserved and


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preserved and vest in the Post-Effective Date Debtor on the Effective Date. No Person may rely
on the absence of a specific reference in this Combined Plan and Disclosure Statement or the
Plan Supplement to any Cause of Action against it as any indication that the Post-Effective Date
Debtor will not pursue any and all available Causes of Action against such Person.


        2. Payment and Winddown
Upon the Liquidating Debtor reaching the Distribution Date, or as soon as practicable thereafter
in the sole reservation of the Liquidating Debtor, payments will be made in accordance with this
plan. Thereafter, a final decree will be sought from this Court, along with an Order closing this
case. Nothing will preclude the Debtor from making a final payment to the United States
Trustee for then remaining, and Distribution Date created, obligation on quarterly fee payments.
E. Risk Factors
The primary risks under the Plan are that collection on the Restitution Order could be prolonged,
and any recovery on the adversary proceeding, Viafield stock, and retainer return, could be
below the amount identified. These risks are borne by the priority tax creditors, in that as
currently situated, such claims are greater than anticipated recovery.

F. Executory Contracts and Unexpired Leases
The Plan lists all executory contracts and unexpired leases that the Debtor will assume or reject
under the Plan. If you object to the assumption of your unexpired lease or executory contract,
the proposed cure of any defaults, or the adequacy of assurance of performance, you must file
and serve your objection to the Plan within the deadline for objecting to the confirmation of the
Plan, unless the Court has set an earlier time. If you object to the rejection of your contract or
lease, you must file and serve your objection to the Plan within the deadline for objecting to the
confirmation of the Plan.
G. Tax Consequences of Plan
The Debtors will not seek a ruling from the Internal Revenue Service prior to the Effective Date
with respect to any of the tax aspects of the Plan. EACH HOLDER OF A CLAIM OR
INTEREST IS STRONGLY URGED TO CONSULT WITH HIS/HER/ITS TAX ADVISOR
REGARDING THE FEDERAL, STATE, LOCAL, AND FOREIGN TAX CONSEQUENCES
OF THE PLAN. The following disclosure of possible tax consequences is intended solely for
the purpose of alerting readers about possible tax issues the Plan may present to the Debtors.
The Plan Proponent CANNOT and DOES NOT represent that the tax consequences contained
below are the only tax consequences of the Plan because the tax code embodies many
complicated rules which make it difficult to completely and accurately state all of the tax
implications of any action or transaction.
       1. Tax Impact on the Debtor
Debtor is an Iowa Company having elected Sub-Chapter “S” taxation status, filing an 1120S.
Debtor has outlined that through this Plan of Liquidation, the Debtor anticipates exiting
bankruptcy in 2024, and permitting dissolution of it Company with the State of Iowa. No
representations are made herein.
       2. Tax Impact on Creditors



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The Debtor is unaware of any adverse tax consequences of the Plan to Creditors or Interest
Holders. It is not necessary or practical to present a detailed explanation of the federal income
tax aspects of the Plan or the related bankruptcy tax matters involved in this Chapter 11 case.
The tax consequences resulting from the Plan to each individual Creditor should not vary
significantly from the past tax consequences realized by each individual Creditor. To the extent
that the tax consequences do vary for individual Creditors, each one is urged to seek advice from
his/her/its own counsel or tax advisor with respect to the federal income tax consequences
resulting from confirmation of the Plan.

ANY PERSON CONCERNED WITH THE TAX CONSEQUENCES OF THE PLAN IS
STRONGLY URGED TO CONSULT WITH HIS/HER/ITS OWN ACCOUNTANTS,
ATTORNEYS, AND/OR ADVISORS TO DETERMINE HOW THE PLAN MAY AFFECT
HIS/HER/ITS FEDERAL, STATE, LOCAL AND FOREIGN TAX LIABILITY.

IV.     CONFIRMATION REQUIREMENTS AND PROCEDURES
To be confirmable, the Plan must meet the requirements listed in Code §1129. These include the
requirements that (1) the Plan must be proposed in good faith; (2) that the Plan be fair and
equitable, in line with the projected disposable income of the Debtor; (3) the Plan must distribute
to each Creditor and equity interest holder at least as much as the Creditor or
equity interest holder would receive in a Chapter 7 liquidation case, unless the Creditor or equity
interest holder votes to accept the Plan; and (4) the Plan must be feasible, and there is a
reasonable likelihood of the Debtor being able to make all payments called for in the Plan. These
requirements are not the only requirements listed in Code §1129, and they are not the only
requirements for confirmation.
A. Who May Vote or Object
Any party in interest may object to the confirmation of the Plan if the party believes that the
requirements for confirmation are not met. Many parties in interest, however, are not entitled to
vote to accept or reject the Plan. A Creditor or equity interest holder has a right to vote for or
against the Plan only if that Creditor or equity interest holder has a Claim or equity interest that
is both (1) Allowed or Allowed for voting purposes as of the date of any confirmation hearing
and (2) Impaired.

        1. What Is an Allowed Claim or an Allowed Equity Interest?
Only a creditor or equity interest holder with an allowed claim or an allowed equity interest has
the right to vote on the Plan. Generally, a claim or equity interest is allowed if either (1) the
Debtor has scheduled the claim on the Debtor’s schedules, unless the claim has been scheduled
as disputed, contingent, or unliquidated, or (2) the creditor has filed a proof of claim or equity
interest, unless an objection has been filed to such proof of claim or equity interest. When a
claim or equity interest is not allowed, the creditor or equity interest holder holding the claim or
equity interest cannot vote unless the Court, after notice and hearing, either overrules the
objection or allows the claim or equity interest for voting purposes pursuant to Rule 3018(a) of
the Federal Rules of Bankruptcy Procedure.
        2. What Is an Impaired Claim or Impaired Equity Interest?
As noted above, the holder of an allowed claim or equity interest has the right to vote only if it is
in a class that is impaired under the Plan. As provided in § 1124 of the Code, a class is


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considered impaired if the Plan alters the legal, equitable, or contractual rights of the members of
that class.

        3. Who is Not Entitled to Vote
The following types of Creditors and equity interest holders are not entitled to vote:
1. Holders of Claims and equity interests that have been disallowed by an order of the Court.
2. Holders of other Claims or equity interests that are not "Allowed Claims" or "Allowed equity
interests".
3. Holders of Claims or equity interests in unimpaired Classes.
4. Holders of Claims entitled to priority pursuant to Code §§ 507(a)(2), (a)(3), and (a)(8).
5. Holders of Claims or equity interests in Classes that do not receive or retain any value under
the Plan.
6. Holders of Administrative Expense Claims.
Even if you are not entitled to vote on the Plan, you have a right to object to the confirmation of
the Plan.

Even If You Are Not Entitled to Vote on the Plan, You Have a Right to Object to the
Confirmation of the Plan and to the Adequacy of the Disclosure Statement.
        4. Who Can Vote in More Than One Class
A creditor whose claim has been allowed in part as a secured claim and in part as an unsecured
claim, or who otherwise hold claims in multiple classes, is entitled to accept or reject a Plan in
each capacity, and should cast one ballot for each claim.
B. Votes Necessary to Confirm the Plan
If impaired classes exist, the Court cannot confirm the Plan unless (1) at least one impaired class
of creditors has accepted the Plan without counting the votes of any insiders within that class,
and (2) all impaired classes have voted to accept the Plan, unless the Plan is eligible to be
confirmed by a “cram down” on non-accepting classes.
        1. Votes Necessary for a Class to Accept the Plan
A Class of Claims accepts the Plan if both of the following occur: (1) the holders of more than
one-half of the allowed Claims in the Class, who vote, cast their votes to accept the Plan, and (2)
the holders of at least two-thirds in dollar amount of the allowed Claims in the Class, who vote,
cast their votes to accept the Plan. A Class of equity interests accepts the Plan if the holders of at
least two-thirds in amount of the allowed equity interests in the Class, who vote, cast their votes
to accept the Plan.
         2. Treatment of Nonaccepting Classes
Even if one or more Impaired Classes reject the Plan, the Court may nonetheless confirm the
Plan if the non-accepting Classes are treated in the manner prescribed by Code § 1129. A plan
that binds non-accepting Classes is commonly referred to as a "cram down" plan. §1129(a)(10)
of the Bankruptcy Code shall be satisfied for the purposes of Confirmation by acceptance of the
Combined Disclosure Statement and Plan by an Impaired Class of Claims. The Debtor may seek
Confirmation of this Combined Disclosure Statement and Plan pursuant to section 1129(b) of the
Bankruptcy Code with respect to any rejecting Class of Claims or Equity Interests. Any Class
that, as of the commencement of the Confirmation Hearing, does not have at least one holder of a
Claim or Equity Interest that is Allowed in an amount greater than zero for voting purposes shall


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be considered vacant, deemed eliminated from this Combined Disclosure Statement and Plan for
purposes of voting to accept or reject this Combined Disclosure Statement and Plan, and
disregarded for purposes of determining whether this Combined Disclosure Statement and Plan
satisfies section 1129(a)(8) of the Bankruptcy Code with respect to such Class. You should
consult your own attorney if a “cramdown” confirmation will affect your Claim or equity
interest, as the variations on this general rule are numerous and complex.

You should consult your own attorney if a “cramdown” confirmation will affect your claim or
equity interest, as the variations on this general rule are numerous and complex.
C. Liquidation Analysis
To confirm the Plan, the Court must find that all creditors and equity interest holders who do not
accept the Plan will receive at least as much under the Plan as such claim and equity interest
holders would receive in a Chapter 7 liquidation. Unsecured Creditors would not receive any
recovery given the secured claims of creditors: Farm Credit Services of America, Waukon State
Bank. A liquidation analysis is included as Exhibit A.

D. Feasibility
Bankruptcy Code section 1129(a)(11) requires that confirmation of a plan not be likely to be
followed by the liquidation, or the need for further financial reorganization, of the Debtor or any
successor to the Debtor (unless such liquidation or reorganization is proposed in the Plan).
Because the Plan proposes a liquidation of all of the Debtor’s assets, for purposes of this test, the
Debtor has analyzed the ability of the Liquidating Debtor to meet its obligations under the Plan.
Based on the Debtor’s analysis, the Liquidating Debtor will have sufficient assets to accomplish
its tasks under the Plan. Therefore, the Debtor believes that the liquidation pursuant to the Plan
will meet the feasibility requirements of the Bankruptcy Code.
You Should Consult with Your Accountant or other Financial Advisor If You Have Any
Questions Pertaining to These Projections.

V.      EFFECT OF CONFIRMATION OF PLAN
A. Discharge of Debtors
Notwithstanding any other provision of the Plan or Confirmation Order, pursuant to section
1141(d)(3) of the Bankruptcy Code, the Debtor will not receive a discharge.
B. Modification of Plan
The Debtor may modify the Plan at any time before confirmation of the Plan in line with the
requirements of Code §1127.
C. Final Decree
Once the estate has been fully administered, as provided in Rule 3022 of the Federal Rules of
Bankruptcy Procedure, the Debtor shall file a motion with the Court to obtain a final decree to
close the case. Upon all Distribution Date payments clearing, or 90 days, whichever is sooner,
the Debtor shall apply for a final decree.




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                                            Respectfully Submitted,

Dated: March 22, 2024                BY     /s/ Jane Krogmeier__________________
                                            Jane Krogmeier, Manager
                                            Valley Pork, LLC.




Prepared by:

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